417 F.2d 622
    MT. LEBANON MOTORS, INC.v.CHRYSLER CORPORATION and Chrysler Motors Corporation, Mt. Lebanon Motors, Inc., Appellant in No. 17,654,Chrysler Corporation and Chrysler Motors Corporation, Appellants in No. 17,655.
    No. 17654.
    No. 17655.
    United States Court of Appeals Third Circuit.
    Argued September 23, 1969.
    Decided November 7, 1969.
    
      Louis C. Glasso and Gerald N. Ziskind, Pittsburgh, Pa. (John L. Mussman, Pittsburgh, Pa., on the brief), for Mt. Lebanon Motors, Inc.
      Edmund K. Trent, Reed, Smith, Shaw &amp; McClay, Pittsburgh, Pa. (John McN. Cramer, Pittsburgh, Pa., Walter B. Maher, Detroit, Mich., on the brief), for Chrysler Corp. and Chrysler Motors Corp.
      Before HASTIE, Chief Judge, and McLAUGHLIN and VAN DUSEN, Circuit Judges.
      OPINION OF THE COURT
      PER CURIAM.
    
    
      1
      This is a claim by a former Dodge automobile dealer against the manufacturer and its corporate sales subsidiary of said automobile. It was submitted to the jury on three issues, violations of sections one and two of the Sherman Act and of the Automobile Dealer Act. The jury rendered verdicts in favor of the defendants on the first and third causes. There was a plaintiff's verdict on the second issue but in addition thereto the jury specifically decided that plaintiff had not sustained any damages on that claim. The jury was polled immediately and the poll sustained the verdicts. Judgment was entered in favor of the defendants on the Sherman Act section one and the Automobile Dealer Act issues. Plaintiff's motion for a new trial as to damages was denied.
    
    
      2
      Plaintiff's appeal is based entirely upon alleged post trial statements of several jurors that there was prejudice within the jury during the trial against the plaintiff and that there was confusion and misunderstanding by the jury of answer to its request for additional instruction.
    
    
      3
      Our independent examination of this trial record establishes no reasonable ground for impeaching the jury verdicts. In that situation the protective cross appeal of the defendants as to the jury verdict in favor of plaintiff on section two of the Sherman Act is for all practical purposes automatically eliminated.
    
    
      4
      The judgment of the District Court will be affirmed.
    
    